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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              Case No. 8:04CR171
                                               )
                       Plaintiff,              )
                                               )
       v.                                      )                     ORDER
                                               )
JESUS CORTES,                                  )
                                               )
                       Defendant.              )


       IT IS ORDERED that a change of plea for the defendant is scheduled before the

undersigned in Courtroom No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th

Plaza, Omaha, Nebraska, on May 1, 2006, at 2:00 p.m. Since this is a criminal case, the defendant

shall be present, unless excused by the court. If an interpreter is required, one must be requested

by the plaintiff in writing five (5) days in advance of the scheduled hearing.

       DATED this 7th day of April, 2006.

                                               BY THE COURT:




                                               s/ Joseph F. Bataillon
                                               JOSEPH F. BATAILLON
                                               United States District Judge
